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          ORAL ARGUMENT SCHEDULED FOR APRIL 26, 2023
                                No. 22-5277

               UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                        END CITIZENS UNITED PAC,
                                           Plaintiff-Appellant,
                                   v.
                     FEDERAL ELECTION COMMISSION,
                                        Defendant-Appellee.

                          NEW REPUBLICAN PAC,
                                        Intervenor-Appellee.


               On Appeal from the United States District Court
             for the District of Columbia, No. 1:21-cv-2128-RJL
                    Before the Honorable Richard J. Leon


                       APPELLANT’S REPLY BRIEF

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                     GLOSSARY OF ABBREVIATIONS


    APA      Administrative Procedure Act

    FEC      Federal Election Commission

   FECA      Federal Election Campaign Act

   MUR       Matter Under Review

    PAC      Political Committee




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                          SUMMARY OF ARGUMENT

      New Republican PAC (“New Republican”) fails to rebut End Citizens United

PAC’s (“End Citizens United”) showing that the district court erred in upholding the

Federal Election Commission’s (“FEC” or “Commission”) dismissal of End Citizens

United’s two administrative complaints. The credible allegations of those

complaints establish reason to believe that U.S. Senator Rick Scott, his campaign,

and New Republican violated federal campaign finance law.

      First, New Republican fails to rebut End Citizen United’s showing that the

district court had subject-matter jurisdiction to review the FEC’s dismissal of Matter

Under Review (“MUR”) 7370—concerning End Citizens United’s candidacy-filing,

organization-filing, nondisclosure, and soft-money claims. New Republican does

not dispute End Citizens United’s showing that reviewability is not a jurisdictional

issue. And New Republican fails to refute End Citizens United’s showing that the

FEC’s dismissal of MUR 7370 is reviewable. New Republican’s claims to the

contrary depend on an overstatement of this Court’s holdings in Citizens for

Responsibility & Ethics in Washington [(“CREW”)] v. FEC, 892 F.3d 434 (D.C. Cir.

2018) (hereinafter “Commission on Hope”) and CREW v. FEC, 993 F.3d 880 (D.C.

Cir. 2021) (hereinafter “New Models”), as well as a misinterpretation of the

controlling Commissioners’ Statement of Reasons (“Statement”). While a dismissal

grounded on an independent discretionary rationale may be unreviewable, a



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dismissal based on the Commissioners’ interpretation of FECA—like that at issue

here—is decidedly not. Even if Commission on Hope and New Models preclude

review of the Statement, New Republican has failed to show that this Court should

follow those rulings, given that they are inconsistent with the established law of the

Supreme Court and this Circuit.

      Second, New Republican fails to rebut that the FEC’s dismissal of MUR

7496—regarding the coordination claims—was contrary to law, largely ignoring

End Citizens United’s arguments and much of the district court’s own reasoning.

New Republican inaccurately suggests that End Citizens United failed to produce

“actual evidence” to support its claims, Intervenor-Appellee’s Br. (hereinafter

“Opp’n”) at 23; but New Republican ignores the low bar set by the applicable

reason-to-believe standard, which requires only that allegations be sufficiently

credible to warrant conducting an investigation, Campaign Legal Ctr. v. FEC, No.

19-2336 (JEB), --- F. Supp. 3d ----, 2022 WL 17496220 at *8 (D.D.C. Dec. 8, 2022).

As End Citizens United has demonstrated, see, e.g., Appellant’s Br. (hereinafter

“Br.”) at 35-38, its coordination claims, and the record evidence supporting them,

were more than sufficient to clear this low bar.

      New Republican likewise erroneously suggests that the district court could

have dispensed with the coordination claims based on the controlling

Commissioners’ invocation of prosecutorial discretion. But the Statement’s



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invocation of prosecutorial discretion, by its own clear language, does not apply to

the coordination claims. See JA290-91. The district court thus found—correctly—

that it had jurisdiction over these claims. See JA108, 110.

      New Republican’s primary argument is that the controlling Commissioners

did not act contrary to law because they dismissed the coordination claims “for lack

of evidence.” Opp’n at 31 (quoting JA290). But New Republican does not point to

any analysis in the Statement of any evidence related to the coordination claims—

nor can it, as the Commissioners did not consider the merits of these claims. Instead,

New Republican insists that the controlling Commissioners “explicitly considered”

evidence that they did not, Opp’n at 30, while simultaneously ignoring the evidence

the district court deemed “critical” to its analysis—as well as all of End Citizens

United’s arguments about the evidentiary flaws with the district court’s decision, see

Br. at 44-51. Finally, New Republican fails to engage meaningfully with the clear

language in the Statement that does explain the controlling Commissioners’ faulty

reasoning for dismissing the coordination claims. See JA282 n.2 (“Footnote 2”).

      In sum, New Republican has failed to rebut End Citizens United’s showing

that the district court erred in upholding the dismissal of End Citizens United’s

claims in MURs 7370 and 7496. Accordingly, this Court should reverse.




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                                   ARGUMENT

    I.   New Republican Fails to Rebut End Citizens United’s Showing that the
         District Court Had Subject-Matter Jurisdiction to Review the FEC’s
         Dismissal of MUR 7370

         New Republican fails to rebut End Citizens United’s explanation of the

district court’s legal errors. At the outset, New Republican does not dispute that the

district court erred in finding that it lacked subject-matter jurisdiction over the

dismissal 1 of MUR 7370. Next, New Republican has failed to refute End Citizen

United’s showing that the FEC’s dismissal is reviewable. Instead, New Republican

misinterprets both this Court’s precedents and the controlling Commissioners’

Statement, which bases the FEC’s dismissal on legal interpretation that this Court

has held is reviewable under FECA. Finally, New Republican fails to show that

Commission on Hope and New Models are consistent with prior, controlling rulings




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       A point of clarification is in order regarding the Commission’s procedure for
dismissing an administrative complaint. New Republican incorrectly suggests that a
deadlocked reason-to-believe vote automatically results in dismissal and final
agency action. See Opp’n at 5-6. Instead, even where the Commission has
deadlocked on whether to find reason to believe, an FEC enforcement matter is not
dismissed until a majority of the Commissioners have voted in favor of a distinct
motion to close the enforcement file—as occurred in this case. Compare JA270-71
(reflecting that the FEC deadlocked 3-3 on whether to find “reason to believe” on
May 20, 2021), with JA272-73 (reflecting that weeks later, on June 10, 2021, the
FEC deadlocked on an additional motion before successfully “[c]los[ing] the file”
with a 5-1 vote). See, e.g., Doe v. FEC, 920 F.3d 866, 871 n.9 (D.C. Cir. 2019)
(“When the Commission ended its investigation and closed the file, it ‘terminate[d]
its proceedings’ within the meaning of 11 C.F.R. § 111.20(a).”).

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of the Supreme Court and this Circuit holding that FEC dismissals are subject to

judicial review.

      A.     New Republican Does Not Dispute that Reviewability Under FECA
             Is Not a Jurisdictional Issue

      New Republican does not attempt to rebut End Citizens United’s showing that

the district court erred by finding that it lacked subject-matter jurisdiction as a result

of the court’s conclusion that the FEC’s dismissal of MUR 7370 is unreviewable.

See Opp’n at 17 n.4. This Court has unequivocally stated that, under FECA,

“reviewability is not a jurisdictional issue.” Campaign Legal Ctr. & Democracy 21

v. FEC, 952 F.3d 352, 357 (D.C. Cir. 2020) (per curiam) (hereinafter “Democracy

21”) (citing People for the Ethical Treatment of Animals v. U.S. Dep’t of Agric., 797

F.3d 1087, 1097-98 (D.C. Cir. 2015)); see also, e.g., New Models, 993 F.3d at 895

(affirming grant of summary judgment to Commission—rather than dismissal for

lack of subject-matter jurisdiction—where controlling commissioners’ invocation of

prosecutorial discretion rendered FEC dismissal unreviewable).

      Instead of defending the district court’s ruling, New Republican claims that

“this Circuit couches non-reviewability both as jurisdictional, and as not.” Opp’n at

17 n.4 (citations omitted). But that is incorrect. Democracy 21 is the latest in a long

line of this Circuit’s precedents concluding that the unreviewability of agency action

under “Section 701(a)(2) of the APA is not . . . a jurisdictional bar.” People for the

Ethical Treatment of Animals, 797 F.3d at 1097 (citation omitted); see also Califano

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v. Sanders, 430 U.S. 99, 107 (1977) (“[T]he APA does not afford an implied grant

of subject-matter jurisdiction permitting federal judicial review of agency action.”);

Oryszak v. Sullivan, 576 F.3d 522, 524 (D.C. Cir. 2009) (“[W]e conclude [that APA

§ 701(a)(2)] is not a jurisdictional bar.”); Trudeau v. FTC, 456 F.3d 178, 185 (D.C.

Cir. 2006) (“[T]he APA neither confers nor restricts jurisdiction.”); Sierra Club v.

Jackson, 648 F.3d 848, 854 (D.C. Cir. 2011) (“Applying Oryszak and Trudeau, we

conclude that a complaint seeking review [under APA] § 701(a)(2), . . . should be

dismissed under Rule 12(b)(6), not under the jurisdictional provision of Rule

12(b)(1).”).

      Indeed, the lone case New Republican cites as allegedly supporting the

proposition that non-reviewability is a jurisdictional issue, see Opp’n at 17 n.4

(citing Oryszak, 576 F.3d 524), holds precisely the opposite. In Oryszak, this Court

explained that a district court that dismissed an APA claim under Rule 12(b)(1) on

the ground that the challenged decision was committed to agency discretion by law,

“should [have] dismissed not for want of subject matter jurisdiction but for failure

to state a claim.” 576 F.3d at 524. The Court agreed that the challenged decision was

committed to agency discretion under APA § 701(a)(2), but clarified that the district

court nevertheless had subject-matter jurisdiction pursuant to 28 U.S.C. § 1331,

which “‘confer[s] jurisdiction on federal courts to review agency action.’” Id. at 524-

25 (quoting Califano, 430 U.S. at 105).



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      New Republican wrongly suggests that it does not matter whether the district

court correctly treated reviewability as a jurisdictional issue. See Opp’n at 17 n.4.

On the contrary, whether reviewability is jurisdictional has important implications—

for example, it affects whether reviewability can be waived, see Fed. R. Civ. P.

12(h)(1), and whether a court can, in its discretion, reach the merits even where

reviewability was raised, just as this Court did in Democracy 21, see 952 F.3d at

356-57. The district court’s misstatement of the law, at odds with this Court’s prior

holdings, would lead to erroneous and problematic results on all of these questions.

      B.     New Republican Has Failed to Show that the Commission’s
             Dismissal of MUR 7370 Is Not Reviewable

      As End Citizens United explained in its opening brief, see Br. at 26-35, even

if FECA reviewability were a jurisdictional issue, the district court nevertheless had

jurisdiction because the FEC’s dismissal of MUR 7370 is reviewable. FECA

contains “an unusual provision that allows a private party to challenge a

nonenforcement decision of the [FEC] if it is ‘contrary to law.’ 52 U.S.C.

§ 30109(a)(8)(A), (C).” New Models, 993 F.3d at 882. This Court has explained that

the FEC’s decision to dismiss an administrative complaint is reviewable under this

provision where that decision was made “on the basis of its interpretation of FECA.”

Comm’n on Hope, 892 F.3d at 441 n.11; see also New Models, 993 F.3d at 884.

Here, the Commission’s dismissal is reviewable because, as the district court




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acknowledged, the controlling Commissioners’ interpretation of FECA was the

basis for their alleged exercise of prosecutorial discretion. See JA109.

      New Republican’s assertions to the contrary are incorrect because they are

based on mischaracterizations of both this Court’s holdings in Commission on Hope

and New Models and the controlling Commissioners’ Statement.

             1.     New Republican Overstates the Holdings in Commission on
                    Hope and New Models

      New Republican’s claim that the Commission’s dismissal is unreviewable is

based on an overstatement of this Court’s holdings in Commission on Hope and New

Models. To be sure, as New Republican emphasizes repeatedly, see Opp’n at 2, 14,

16, 25, a dismissal “based even in part on prosecutorial discretion is not reviewable”

where the exercise of discretion rests on prudential and discretionary considerations,

New Models, 993 F.3d at 882. But a dismissal allegedly based on prosecutorial

discretion is reviewable where the purported exercise of discretion rests instead on

the Commissioners’ interpretation of FECA. As End Citizens United has explained,

Br. at 27-29, even a partial assertion of prosecutorial discretion must be offered as a

“distinct ground[]” for dismissal that rests not on legal analysis, but “squarely on

prudential and discretionary considerations” to shield a dismissal from judicial

review. New Models, 993 F.3d at 884, 886. In contrast, where controlling

Commissioners “reference their merits analysis as a ground for exercising

prosecutorial discretion,” CREW v. FEC (“New Models II”), 55 F.4th 918, 920-21

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(D.C. Cir. 2022) (Rao, J., concurring in denial of reh’g en banc), a dismissal is

reviewable because, in that case, “the agency’s action [is] based entirely on its

interpretation of the statute,” Comm’n on Hope, 892 F.3d at 441 n.11.

      In Commission on Hope, for example, the Court explained that an FEC

dismissal “on the basis of [the Commission’s] interpretation of FECA . . . is subject

to judicial review to determine whether it is ‘contrary to law.’” Id. at 441. In contrast,

the dismissal in that case was unreviewable, the Court held, because the controlling

Commissioners’ statement explained that they voted against moving forward with

the matter not based on any legal interpretation, but because the “case did not warrant

further use of Commission resources.” Id. at 438-39 (“The three naysayers on the

Commission placed their judgment squarely on the ground of prosecutorial

discretion.”).

      Similarly, in New Models, the Court held that a Commission dismissal was

unreviewable because the Statement of Reasons made clear that the controlling

Commissioners exercised their discretion independently from their interpretation of

the law. See New Models, 993 F.3d at 884. As the Court explained, “[t]he

Commission’s decision to dismiss [the] complaint against New Models rested on

two distinct grounds: the Commission’s interpretation of FECA and its ‘exercise of

. . . prosecutorial discretion.’” Id. (emphasis added). The distinct invocation of

prosecutorial discretion thus “rested squarely on prudential and discretionary



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considerations relating to resource allocation and the likelihood of successful

enforcement,” and not “legal analysis of FECA’s . . . requirements”—which were

also offered by the Statement, but only “in addition” to the prudential and

discretionary grounds. Id. at 886.

         The language of both cases makes clear that New Republican overreaches in

claiming that this Court has allowed the Commission to shield from judicial review

a dismissal based entirely on interpretation of FECA with the simple expedient of

labeling its legal analysis as “prosecutorial discretion.” Rather, Commission on Hope

and New Models recognize the distinction between dismissals independently based

on prudential and discretionary reasons (even where some legal analysis is offered

as an additional, distinct basis for dismissal), and those dismissals that are grounded

in legal analysis itself. While New Republican objects that the rule set by

Commission on Hope and New Models is “hopelessly unworkable,” Opp’n at 24, the

alternative rule New Republican proposes—allowing the Commission to shield even

its legal analysis from review—is irreconcilable with this Court’s precedents and

would eviscerate FECA’s “contrary to law” judicial review provision. This Court

should not accept New Republican’s invitation to extend its prior decisions to cases

like this one, where the controlling Commissioners have wrapped their legal analysis

in the garb of discretionary language to shield that analysis from review by this

Court.



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                2.   New Republican Mischaracterizes the Statement of Reasons,
                     Which Is Reviewable

      The discretion-based dismissals in Commission on Hope and New Models are

distinguishable from the merits-based dismissal here. Indeed, rather than asserting

any independent discretionary rationale, the controlling Commissioners in this case

expressly rooted their purported “discretion” in their interpretation of the law. See

Br. at 30-32.

      New Republican nevertheless frames the controlling Commissioners’ legal

interpretation as a mere “factor” in their decision to dismiss. See Opp’n at 17, 21.

But this is a mischaracterization; each of the controlling Commissioners’

purportedly discretionary justifications for dismissal is premised upon their

erroneous legal conclusion that proof of an individual’s subjective intent to become

a candidate is required to substantiate a violation of FECA’s candidacy-filing

requirement.

      New Republican attempts to parse several “factors” out of this single basis for

dismissal, but each one is an offshoot of the same legal conclusion. To begin, New

Republican lists as separate “factors” the alleged “lack of evidence offered by End

Citizens United” and the alleged existence of a “thin evidentiary reed.” Opp’n at 22-

23. Both “factors,” however, are expressly rooted in the controlling Commissioners’

claim that the law requires evidence of subjective intent. The controlling

Commissioners assert the alleged lack of evidence at the same time they claim that

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FECA requires evidence of Scott’s “subjective intent during this period,” which they

insist “would have necessitated a wide-ranging, costly, and invasive investigation.”

See JA290. Likewise, the controlling Commissioners cite the “thin evidentiary reed”

in the same sentence they assert that a “lengthy and cumbersome investigation”

would be required—an investigation that they assert would be lengthy and

cumbersome because they would have “to probe [Scott’s] subjective intent.” See id.

      New Republican similarly claims that the Statement bases the dismissal on

other allegedly discretionary “factors,” including resource drain, backlog, and statute

of limitations concerns. See Opp’n at 22-23. But the controlling Commissioners’

assessment of the resources needed to investigate and the time such an investigation

would take relative to the backlog of other cases and the statute of limitations is

directly tied to their legal assessment of the nature of evidence required. See Br. at

31-32. The controlling Commissioners claim that FECA’s candidacy determination

would require evidence of subjective intent to meet the legal standard, which in turn

would allegedly require a “wide-ranging, costly, and invasive” investigation. See

JA290. In this way, each of the alleged “prudential and discretionary

considerations,” see Opp’n at 23, is grounded in the controlling Commissioners’

legal analysis. Their “discretionary” rationale, therefore, cannot be separated from

their antecedent legal conclusion that FECA requires an inquiry into subjective

intent. Whether FECA and Commission regulations require such an inquiry is



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unquestionably a legal determination that is subject to “contrary to law” review

under 52 U.S.C. § 30109(a)(8). 2

      New Republican attempts to minimize the significance of the Statement’s

legal determination that FECA’s candidacy inquiry requires probing subjective

intent by characterizing it as a mere “offhand reference” and a “remark.” Opp’n at

23. But the importance of the Statement’s own reasoning cannot be minimized, as

this Court has said it “is necessary to allow for meaningful judicial review of the

Commission’s decision not to proceed.” Common Cause v. FEC, 842 F.2d 436, 449

(D.C. Cir. 1988). Moreover, a ruling by the district court that the controlling

Commissioners’ stated view of FECA is “contrary to law” would not risk

constituting an advisory opinion, as New Republican claims, see Opp’n at 23,

because the Statement premises its alleged exercise of discretion on that legal

determination without providing any independent non-legal ground for dismissal.

      Next, New Republican does not dispute End Citizen United’s showing that

“the district court . . . erred when it concluded that the legal analysis undergirding

the invocation of prosecutorial discretion must be ‘erroneous’ for the dismissal to be



2
       New Republican also points to the Statement’s stated concern about the
“regulation of core constitutional protected activity,” Opp’n at 22, but this is also
premised on the controlling Commissioners’ incorrect legal determination that the
law would have required probing Scott’s subjective intent, see JA290. In any event,
the question of whether and to what extent the First Amendment may limit the FEC’s
ability to investigate potential FECA violations is itself a legal question.

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reviewable.” Br. at 32 (citing JA109). As End Citizens United has explained, an FEC

dismissal is reviewable whenever that decision was made “on the basis of its

interpretation of FECA,” Comm’n on Hope, 892 F.3d at 441 n.11, regardless of the

subsequent merits determination of whether that interpretation was contrary to law,

see Br. at 32-33.

      Nonetheless, if this Court determines that the FEC’s dismissal is reviewable,

it should also reverse the district court’s erroneous conclusion that the law requires

the agency to probe subjective intent to determine candidacy, and hold that the

agency’s dismissal on that basis was contrary to law. See Br. at 29-30. As End

Citizens United has demonstrated, the controlling Commissioners’ legal conclusion

that determining when an individual becomes a candidate requires probing

subjective intent is erroneous. See Br. at 29-33. In response, New Republican

concedes that, when determining candidacy, “the FEC typically examines objective

factors,” but notes that the objective factors that FEC regulations instruct the agency

to examine can be indicia of a candidate’s subjective intent and that the agency has

in previous cases examined a putative candidate’s statements indicating his or her

state of mind. Opp’n at 21 n.7. If anything, such use of documented public statements

and other objective facts only further demonstrates that the FEC’s candidacy

determination is not based on an intrusive “probe” of the candidate’s subjective

beliefs and plans. Neither the Statement nor New Republican identifies a single case



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in which the FEC conducted such a probe. See Opp’n at 21 n.7 (citing MUR 5394

(Thompson) (dismissing complaint that had only “referenced a number of newspaper

articles including statements by Senator Thompson” as evidence of candidacy)).

      Illustrating the point, the FEC General Counsel’s recommendation to the

Commission in this matter concluded that Scott became a candidate as early as 2017

because his “objectively deliberate actions” indicated that “he undertook activities

designed to amass funds that were to be spent on supporting his Senate candidacy

after he declared such candidacy in April 2018.” JA221 (citing 11 C.F.R.

§§ 100.72(b), 100.131(b)). Not only that, but the controlling Commissioners

themselves acknowledge in their Statement that the agency’s candidacy regulations

“are fairly intuitive and objective” and “provide there are indicia of candidacy when

an ‘individual . . . undertakes activities designed to amass campaign funds that would

be spent after he or she becomes a candidate.’” JA286-87 (quoting 11 C.F.R.

§ 100.72(b)(2)). And yet their Statement nevertheless concludes it would be

necessary to probe Scott’s subjective intent. JA290. That conclusion is fatally

contrary to law.

             3.    New Republican Has Failed to Show that Commission on
                   Hope and New Models Are Consistent with Supreme Court
                   and D.C. Circuit Precedent

      Commission on Hope and New Models, properly applied, do not preclude

review of the dismissal in this case, which is grounded in legal error. See Br. at 26-



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33; supra pp. 8-14. If, however, these cases are read to preclude judicial review here,

then the Court should decline to follow them. See Br. at 33-35; Br. of Amicus Curiae

Citizens for Responsibility and Ethics in Washington in Supp’t of Pl.-Appellant

(hereinafter “Amicus Curiae Br.”) at 10-17 (Feb. 1, 2023). Under the law of this

Circuit, “when a decision of one panel is inconsistent with the decision of a prior

panel, the norm is that the later decision, being in violation of that fixed law, cannot

prevail.” Sierra Club, 648 F.3d at 854. As multiple Judges of this Court have

expressed, both Commission on Hope and New Models are inconsistent with fixed

law because they contravene the Supreme Court’s decision in FEC v. Akins, 524

U.S. 11 (1998) and this Court’s decisions in Chamber of Commerce v. FEC, 69 F.3d

600 (D.C. Cir. 1995), Democratic Congressional Campaign Committee v. FEC, 831

F.2d 1131 (D.C. Cir. 1987) (hereinafter, “DCCC”), and Orloski v. FEC, 795 F.2d

156 (D.C. Cir. 1986). See New Models, 993 F.3d at 900-01 (Millett, J., dissenting);

Democracy 21, 952 F.3d at 363 (Edwards, J. concurring); CREW v. FEC, 923 F.3d

1141, 1145 (D.C. Cir. 2019) (Pillard, J., dissenting from denial of reh’g en banc).

      In response, New Republican does not even attempt to claim that Commission

on Hope and New Models are consistent with this Court’s rulings in Chamber of

Commerce, DCCC, and Orloski. See Opp’n at 25-27.

      New Republican asserts that Akins is distinguishable because it “had nothing

to do with prosecutorial discretion.” Opp’n at 26. Not so. While holding that the



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plaintiffs had standing, the Supreme Court in Akins rejected the “FEC[’s] argu[ment]

that we should deny respondents standing because this case involves an agency’s

decision not to undertake an enforcement action—an area generally not subject to

judicial review.” Akins, 524 U.S. at 26. In response to the FEC’s argument about

reviewability, the Court explained that, although “agency enforcement decisions

‘ha[ve] traditionally been ‘committed to agency discretion’”—as reflected in APA

§ 701(a)(2) and Heckler v. Chaney, 470 U.S. 821 (1985)—with FECA, “[w]e deal

here with a statute that explicitly indicates the contrary.” Id. Akins thus had much to

say about the reviewability of the FEC’s prosecutorial discretion, and New

Republican’s opinion that the Supreme Court “did not need to address” reviewability

because the case involved standing is irrelevant. Opp’n at 26.

      As Amicus Curiae explains in detail, see Amicus Curiae Br. at 12-14, Akins is

contradicted by New Models’s subsequent claims that “FECA cannot alter the APA’s

limitation on judicial review” and that “the [FEC’s] decision not to bring an

administrative enforcement action is ‘committed to agency discretion by law’ and

therefore unreviewable,” 993 F.3d at 888, 889 (citation omitted). Due to this conflict

with existing Supreme Court precedent, and due to their undisputed conflict with

this Circuit’s precedents, Commission on Hope and New Models should not be

followed.




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II.   New Republican Fails to Rebut End Citizens United’s Showing that the
      FEC’s Dismissal of MUR 7496 Was Contrary to Law

      New Republican fails to rebut End Citizens United’s showing that the FEC’s

dismissal of MUR 7496—regarding the coordination claims—was contrary to law,

largely ignoring End Citizens United’s arguments and much of the district court’s

own reasoning.

      Instead, New Republican leans heavily on the deference owed to the FEC, see,

e.g., Opp’n at 28—but that deference is not boundless. Indeed, it cannot rescue the

controlling Commissioners’ flawed dismissal in light of the “low bar” set by the

“reason to believe” standard governing the FEC’s decision. Campaign Legal Ctr.,

2022 WL 17496220 at *8. A finding of “reason to believe” does not trigger any

penalties, but only initiates an FEC investigation of the administrative complaint’s

allegations, during which the agency may collect evidence of potential wrongdoing

to later support a separate finding that there is probable cause to believe a violation

occurred. See Br. at 10. Accordingly, the “reason to believe” standard requires “only

a credible allegation” of wrongdoing, and “does not require ‘conclusive evidence’

that a violation occurred or even ‘evidence supporting probable cause’ for finding a

violation.” Campaign Legal Ctr., 2022 WL 17496220 at *8 (citation omitted).

      New Republican ignores this low bar set by the reason-to-believe standard

and demands too much with its repeated and inaccurate suggestions that End

Citizens United failed to produce “actual evidence that either New Republican or

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Senator Scott had violated the Act.” Opp’n at 23; see also id. at 29-32. As End

Citizens United has demonstrated, based on the pre-investigation evidence in the

administrative record, End Citizens United’s coordination allegations are more than

sufficiently “credible” to clear the low bar of “reason to believe” and warrant an

investigation. See Br. at 35-52. The controlling Commissioners’ adverse decision is

thus contrary to law.

      New Republican is also wrong to suggest that “[t]he district court chose not

to, but could have, granted summary judgment to New Republican PAC entirely

based on the Commission’s invocation of prosecutorial discretion in the Statement

of Reasons.” Opp’n at 28 n.11; see also id. at 32. As End Citizens United pointed

out to the district court, see ECF No. 23 at 37, ECF No. 25 at 28-29, ECF No. 30 at

8-10, the Statement’s invocation of prosecutorial discretion, by its own clear

language, does not apply to the coordination claims in MUR 7496, see JA290-91

(stating that “we . . . exercised our prosecutorial discretion regarding the allegations

that Scott and his campaign committee failed to timely file candidacy and

organization forms”). Accordingly, the district court correctly found that it had

“jurisdiction over . . . M.U.R. 7496, because the FEC did not cite its prosecutorial

discretion in dismissing [End Citizens United]’s complaint regarding that claim.”

JA110; see also JA108 (explaining that “the FEC’s exercise of prosecutorial

discretion as to one claim does not divest this Court’s review of a separate claim”).



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      Turning to its primary argument, New Republican insists that the controlling

Commissioners did not dismiss End Citizens United’s coordination claims based on

the merits of its candidacy-filing or soft-money claims, but instead “unequivocally

‘dismissed’ the coordination challenge ‘for lack of evidence.’” Opp’n at 31 (quoting

JA290); see also id. at 29 (same, quoting JA290); id. at 30 (same, quoting JA290);

id. at 30 n.13 (same). But besides an excerpt from the last sentence of the Statement,

see JA290, New Republican does not point to any analysis of any evidence related

to the coordination claims. Nor can it, as the controlling Commissioners did not

engage with the record evidence to assess the merits of these claims at all—reason

alone to find the dismissal contrary to law. See Motor Vehicle Mfrs. Ass’n of the U.S.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

      New Republican attempts to sidestep this problem by insisting, as the district

court did, that the controlling Commissioners “explicitly considered” Ms.

Hazelwood’s affidavit in dismissing the coordination claims. Opp’n at 30; see also

id. at 31 (quoting JA111-12). But that is not true; as End Citizens United has pointed

out, see Br. at 49-50; ECF No. 30 at 23, the Statement never connected Ms.

Hazelwood’s affidavit to these allegations. New Republican does nothing to rebut

this fact, save its conclusory statement that “the district court was correct” in its

reasoning. Opp’n at 31; see also id. at 30 n.13. Indeed, New Republican avoids all

of End Citizens United’s arguments about Ms. Hazelwood’s affidavit, namely that



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neither the General Counsel nor the controlling Commissioners credited it with

respect to the coordination claims, Br. at 48-50, and that, regardless, the affidavit

was flawed and deserved little weight, id. at 50-51.

      New Republican likewise does not engage with the evidence the district court

deemed “critical” to its analysis, JA110,—specifically the General Counsel’s

recommendation to take no action at the time with respect to the coordination claims.

And failing to even acknowledge that recommendation or the district court’s analysis

of it, New Republican does not address, let alone refute, End Citizens United’s

arguments that the district court fundamentally mischaracterized the very piece of

evidence foundational to its decision. See Br. at 44-48.

      Indeed, contrary to New Republican’s argument, the clear language of the

Statement confirms that the controlling Commissioners dismissed the coordination

claims not on the basis of any evidence, but on the faulty reasoning that they were

“required to dismiss the remainder of the allegations against Scott, his authorized

committee, and New Republican PAC” because “[a]ll of those allegations would

have required, at a minimum, a threshold finding that Scott had failed to file a

statement of candidacy at the appropriate time, or that New Republican had violated

the soft money rules.” JA282 n.2 (citing Certification for MURs 7370 and 7496).

New Republican never once mentions the language of Footnote 2, and instead

derides End Citizens United’s “musings about footnotes,” Opp’n at 31, even though



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the Statement (including its footnotes) provides the basis for judicial review, see

Common Cause, 842 F.2d at 449. Nor does New Republican respond to End Citizens

United’s arguments, see Br. at 41-44, as to how the district court misinterpreted

Footnote 2 as “not refer[ring] to the coordination communication allegations,”

JA112 (citing JA282 n.2) (emphasis in original).

      Instead, New Republican asserts only that, when “[p]laced in context, the

better reading of” Footnote 2 is that “(1) based on its exercise of prosecutorial

discretion, the Commission would not investigate Senator Scott’s history as New

Republican’s chair, and (2) without an investigation into that time frame, the paltry

evidentiary showing mustered by End Citizens United could not sustain a reason-to-

believe finding.” Opp’n at 31-32. But this argument too fails. First, while an

investigation of Scott’s history as New Republican’s chair might well elicit

information relevant to the coordination claims—as the General Counsel recognized,

see JA232—those claims do not depend on any such investigation, as they concern

conduct that occurred after Scott left New Republican. Second, New Republican’s

insistence that End Citizens United’s “paltry evidentiary showing . . . could not

sustain a reason-to-believe finding,” Opp’n at 32, distorts the “reason to believe”

standard underlying the controlling Commissioners’ decision—which, again, New

Republican never mentions. As End Citizens United has demonstrated, see, e.g., Br.




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at 35-38, its allegations are more than sufficiently credible to warrant an

investigation into the coordination claims.

      In sum, New Republican fails to rebut that the district court erred in upholding

the FEC’s dismissal of the coordination claims, refusing to engage with most of End

Citizens United’s arguments, or even to defend the district court’s decision on its

own terms. Accordingly, the Court should reverse the district court’s dismissal of

MUR 7496.

                                   CONCLUSION

      For the foregoing reasons, End Citizens United respectfully requests that this

Court reverse the district court’s dismissal of this case.



Dated: March 17, 2023                      Respectfully submitted,

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      This brief complies with the word limit of Fed. R. App. P. 32(a)(7)(B)(ii)

because it contains 5,358 words, excluding the parts of the brief exempted by Fed.

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      I certify that on March 17, 2023, I electronically filed this brief with the Clerk

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